
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT





                                 ____________________


        No. 96-2143

                                     JOSE DEMELO,

                                Petitioner, Appellee,

                                          v.

                               CHARLES T. COBB, ET AL.,

                               Respondents, Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                              Cyr, Senior Circuit Judge,
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                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Frank  W.  Hunger, Assistant  Attorney  General,  Civil  Division,
            _________________
        David  M. McConnell,  Assistant  Director, and  Kristen A.  Giuffreda,
        ___________________                             _____________________
        Attorney, Office of Immigration Litigation, Civil Division, Department
        of Justice, on Motion to Vacate for appellants.


                                 ____________________

                                  February 27, 1997
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                 Per  Curiam.   Section 440(c)  of the  Antiterrorism and
                 ___________

            Effective Death Penalty Act of 1996, Pub. L. No. 104-132, 110

            Stat. 1214,  1277 (Apr. 24,  1996) (AEDPA), provides  for the

            mandatory  detention of certain categories of criminal aliens

            pending  deportation proceedings.   The  district  court here

            determined  that   440(c) did not apply to those aliens, such

            as  petitioner,  who had  been  convicted  and released  from

            incarceration prior to AEDPA's effective date.  See DeMelo v.
                                                            ___ ______

            Cobb, 936 F. Supp.  30 (D. Mass. 1996).   Respondents, having
            ____

            appealed from this ruling, now suggest  that their appeal has

            become  moot in  light of  the  intervening enactment  of the

            Illegal Immigration  Reform and Immigrant  Responsibility Act

            of 1996, Pub. L. No. 104-208, 110 Stat. 3009 (Sept. 30, 1996)

            (IIRIRA).   As a result, they request that the district court

            order be  vacated "to the extent it  relies on a finding that

            section  440(c) of the AEDPA  is inapplicable," and also that

            the case be remanded for further proceedings.  Petitioner has

            filed no opposition.

                 We agree that the advent of IIRIRA has rendered moot the

            question  of  whether  AEDPA's mandatory-detention  provision

            applies  here--the sole  issue raised  on appeal.   With  the

            implementation of the "transition period  custody rules," see
                                                                      ___

            IIRIRA   303(b)(3), section  440(c) of AEDPA has specifically

            been  rendered inoperative  during  the interim  period,  see
                                                                      ___

            IIRIRA   303(b)(2); the  question of AEDPA's applicability is



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            thus no longer in  contention.  In so concluding,  we express

            no opinion  as  to whether  IIRIRA's  transitional  rules--as

            opposed to the rules  governing detention under the pre-AEDPA

            regime, to the extent they might differ--apply to petitioner.

                 We  likewise  agree that  it  is  appropriate under  the

            circumstances  to vacate  the district  court's order  to the

            extent  it relies  on a  finding  that    440(c) of  AEDPA is

            inapplicable.   See, e.g., United States  v. Munsingwear, 340
                            ___  ____  _____________     ___________

            U.S. 36, 39  (1950); Knight  v. Mills, 836  F.2d 659,  671-72
                                 ______     _____

            (1st  Cir.  1987)  (ordering  partial  vacatur);  Bethell  v.
                                                              _______

            Florida,  741 F.2d 1341,  1342 (11th Cir.  1984) (per curiam)
            _______

            (similar).

                 The motion  to vacate  is allowed; the  district court's
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            order of  June 19, 1996 is  vacated as moot to  the extent it
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            relies on a finding  that   440(c) of AEDPA  is inapplicable.
            _____________________________________________________________

            The case  is  remanded  to the  district  court  for  further
            _____________________________________________________________

            proceedings as appropriate.
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